Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 1 of 51 PageID #: 121




                 EXHIBIT 1




                 EXHIBIT 1
     Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 2 of 51 PageID
                                                                      Invoice#: 122
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                             Page 1 of 3
                                                                                                       Shipped From:                               RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                         MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                      1005 SATELLITE BLVD.
                                                                                                       SUWANEE,GA 30024
Bill To:     20016595                                                                                  SHIPPED FROM LICENSE: PHWH001594



                                                                                                       Shipped To:
STM-MAR-BULK                                                                                           STM-MAR-BULK THRIVE
                                                                                                       STE 224
1800 SANDY PLAINS RD STE 224                                                                           1800 SANDY PLAINS INDUSTRIAL PKWY
PARKWAY                                                                                                MARIETTA GA 30066-6363
                                                                                                       Ordered By:
MARIETTA GA 30066-6554
                                                                                                       REGULATORY LICENSE: PHDME000132




                 TIN:                                                                                  Payment / Account Balance Inquires: 1-800-453-5180
                 DUNS:                                                                                Customer Service:                        1-888-822-8111
           Sales Order Number                448484                                             Invoice Number                       19854729
           Sales Order Date                  07/25/2023                                         Invoice Date                         07/25/2023
           PO Number                         390393                                             Payment Due Date                     10/23/2023
           Sales Rep Name                    BAYS, CARRIE                                       Invoice Amount                       $2,383.61
             Notes:   By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                      the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                      acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                             Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
           Invoice Detail                                                                     Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item      Vendor /                                                                              Unit                                                    Sales Codes
Number    Vendor Cat #                  Description             Ordered    Unit    Shipped     Price                                    Amount           Tax     (*)
282080    Vendor: AVANOS       GASTROSTOMY KIT, MIC-KEY 14FR               EA                                                            102.33            .00
       Vend Cat#: 0120-14-1.7                         PO LN 1
       Tracking #
       Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
805445    Vendor: NESTLE       COMPLEAT, PEDIATRIC LO CAL UNF              EA                                                             197.16            .00
       Vend Cat#: 10043900380749                      PO LN 2
       Tracking #
       Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
988343    Vendor: MGM16        SYRINGE, PISTON FLAT TOP W/EN               EA                                                              50.00            .00
       Vend Cat#: 911                                 PO LN 3
        Tracking #
        Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
1029294    Vendor: VESMED       SYRINGE, FEEDING W/ENFIT TIP 5              EA                                                             26.00            .00
        Vend Cat#: VED-605                             PO LN 4
        Tracking #

                                                                                                                                   Invoice

                                                                                                                                                   RCHE1DPD01
McKesson Medical-Surgical
                                                                              Account Number                              20016595
Minnesota Supply Inc.                                                         Document Number                             19854729        Date    07/25/2023
9954 Mayland Drive, Ste. 5176A                                                                                Terms                         AR NET 90 DAYS
Henrico, VA 23233
                                                                                    Pay This Amount Before               10/23/2023                     $2,383.61

STM-MAR-BULK
                                                                            Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1800 SANDY PLAINS RD STE 224                                                         Please Remit To:
MARIETTA GA 30066-6554                                                                  MCKESSON MEDICAL-SURGICAL MN SUPPLY INC
                                                                                        P. O. BOX 630693
                                                                                        CINCINNATI OH 45263-0693
     Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 3 of 51 PageID
                                                                      Invoice#: 123
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                   Page 2 of 3
9954 Mayland Drive, Ste. 5176A                                                                                        RCHE1DPD01
Henrico, VA 23233                                                               Shipped To:
 Bill To:    20016595                                                           STM-MAR-BULK THRIVE
 STM-MAR-BULK                                                                   STE 224
 1800 SANDY PLAINS RD STE 224                                                   1800 SANDY PLAINS INDUSTRIAL PKWY
 PARKWAY                                                                        MARIETTA GA 30066-6363
 MARIETTA GA 30066-6554                                                         Ordered By:
                                                                                REGULATORY LICENSE: PHDME000132


         Invoice Number 19854729            PO Number 390393                                      Invoice Date         07/25/2023

Item       Vendor /                                                                              Unit                    Sales Codes
Number     Vendor Cat #                  Description             Ordered    Unit    Shipped     Price      Amount         Tax     (*)
        Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
1017691    Vendor: AVANOS       EXT SET, FEEDING MIC-KEY W/ENF              EA                               265.50        .00
        Vend Cat#: 0141-12                             PO LN 6
       Tracking #
       Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
262289    Vendor: SUNMED       CANNULA, NASAL 7' INF (50/CS)               EA                                122.50        .00
       Vend Cat#: 1615-7-50                           PO LN 8
       Tracking #
       Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
649119    Vendor: MGM16        SUCTION, YANKAUER RIGID BULB T              EA                                 21.50        .00
       Vend Cat#: 16-66202                            PO LN 9
       Tracking #
       Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
649118    Vendor: MGM16        SUCTION, YANKAUER RIGID BULB T              EA                                 34.00        .00
       Vend Cat#: 16-66201                            PO LN 10
        Tracking #
        Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
1205231    Vendor: SSETHC       CIRCUIT, BREATHABLE VENTILATOR              EA                               254.80        .00
        Vend Cat#: VC1114                              PO LN 11
        Tracking #
        Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
1169664    Vendor: ZEVEX        BAG SET, INFINITY ENTERAL W/EN              EA                               437.40        .00
        Vend Cat#: INF0500-E                           PO LN 12
       Tracking #
       Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
251284    Vendor: VYARMD       CATH KIT, SCTN W/2GLV 8FR                   EA                                 59.00        .00
       Vend Cat#: 4897T                               PO LN 13
        Tracking #
        Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
1065848    Vendor: SSETHC       EXCHANGER, HEAT & MOISTURE SUN              EA                                66.40        .00
        Vend Cat#: RES027                              PO LN 14
       Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 4 of 51 PageID
                                                                        Invoice#: 124
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 3 of 3
9954 Mayland Drive, Ste. 5176A                                                                                                                                                      RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:    20016595                                                                                                        STM-MAR-BULK THRIVE
   STM-MAR-BULK                                                                                                                STE 224
   1800 SANDY PLAINS RD STE 224                                                                                                1800 SANDY PLAINS INDUSTRIAL PKWY
   PARKWAY                                                                                                                     MARIETTA GA 30066-6363
   MARIETTA GA 30066-6554                                                                                                      Ordered By:
                                                                                                                               REGULATORY LICENSE: PHDME000132


               Invoice Number 19854729                                PO Number 390393                                                                     Invoice Date                07/25/2023

Item      Vendor /                                                                              Unit                                                                                       Sales Codes
Number    Vendor Cat #                  Description             Ordered    Unit    Shipped     Price                                                                   Amount               Tax     (*)
       Tracking #
       Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
406849    Vendor: CARICO       UNDERPAD, INCONT LT ABSRB 23"X              BG                                                                                                6.80               .00
       Vend Cat#: 7176                                PO LN 15
       Tracking #
       Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
401591    Vendor: CARDCV       SPONGE, GAUZE CURITY STR 4"X4"              PK                                                                                                3.12               .00
       Vend Cat#: 8047-                               PO LN 16
       Tracking #
       Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
407376    Vendor: DALEMD       TRACH HOLDER, NEONATE 9" (10/B              EA                                                                                               26.70               .00
       Vend Cat#: 242                                 PO LN 17
       Tracking #
       Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
445894    Vendor: FIRSTQ       BRIEF, PULLUP PREVAIL YTH (22/              PK                                                                                               94.80               .00
       Vend Cat#: PV-511                              PO LN 18
       Tracking #
       Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
960259    Vendor: CARDCV       PUMP SET, JOEY 500ML (30/CS)                  EA                                                                                           615.60                .00
       Vend Cat#: 762055                              PO LN 19
       Tracking #
       Shipped: 07/25/2023 From: Atlanta Via: PRIVATE FLEET - ATL - ATLANTA Broker Lic: PHWH004554
                                                                       SUB TOTAL          FREIGHT                                                                           TAX                   AMOUNT
                                                                         $2,383.61          $0.00                                                                         $0.00                  $2,383.61
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.
       Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 5 of 51 PageID
                                                                        Invoice#: 125
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                            Page 1 of 1
                                                                                                                               Shipped From:                                        RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                                                 MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                                              1005 SATELLITE BLVD.
                                                                                                                               SUWANEE,GA 30024
Bill To:         20016595                                                                                                      SHIPPED FROM LICENSE: PHWH001594



                                                                                                                               Shipped To:
STM-MAR-BULK                                                                                                                   STM-MAR-BULK THRIVE
                                                                                                                               STE 224
1800 SANDY PLAINS RD STE 224                                                                                                   1800 SANDY PLAINS INDUSTRIAL PKWY
PARKWAY                                                                                                                        MARIETTA GA 30066-6363
                                                                                                                               Ordered By:
MARIETTA GA 30066-6554
                                                                                                                               REGULATORY LICENSE: PHDME000132




                       TIN:                                                                                                    Payment / Account Balance Inquires: 1-800-453-5180
                       DUNS:                                                                                                 Customer Service:                               1-888-822-8111
               Sales Order Number                        672429                                                        Invoice Number                              20021012
               Sales Order Date                          07/27/2023                                                    Invoice Date                                07/28/2023
               PO Number                                 390608                                                        Payment Due Date                            10/26/2023
               Sales Rep Name                            BAYS, CARRIE                                                  Invoice Amount                              $158.80
                  Notes:     By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                             the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                             acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                                                Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
              Invoice Detail

Item           Vendor /                                                                             Unit                  Sales Codes
Number         Vendor Cat #                  Description           Ordered      Unit  Shipped     Price       Amount        Tax      (*)
1082790        Vendor: SSETHC       FILTER, INTAKE EVERFLO LONG LI              EA                             138.90        .00
            Vend Cat#: BF1001                             PO LN 1
            Tracking #
            Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
                                                                           HANDLING COLD CHAIN       HAZMAT           BULK STD/EXP FRT
                                                                               $0.00      $0.00          $0.00        $0.00        $19.90
                                                                           SUB TOTAL       FREIGHT               TAX           AMOUNT
                                                                              $138.90        $19.90            $0.00            $158.80
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.




                                                                                                                                                                 Invoice

                                                                                                                                                                                     RCHE1DPD01
McKesson Medical-Surgical
                                                                                                  Account Number                                       20016595
Minnesota Supply Inc.                                                                             Document Number                                      20021012           Date    07/28/2023
9954 Mayland Drive, Ste. 5176A                                                                                                          Terms                               AR NET 90 DAYS
Henrico, VA 23233
                                                                                                        Pay This Amount Before                        10/26/2023                              $158.80

STM-MAR-BULK
                                                                                               Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1800 SANDY PLAINS RD STE 224                                                                              Please Remit To:
MARIETTA GA 30066-6554                                                                                       MCKESSON MEDICAL-SURGICAL MN SUPPLY INC
                                                                                                             P. O. BOX 630693
                                                                                                             CINCINNATI OH 45263-0693
     Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 6 of 51 PageID
                                                                      Invoice#: 126
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                              Page 1 of 2
                                                                                                       Shipped From:                                RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                         MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                      1005 SATELLITE BLVD.
                                                                                                       SUWANEE,GA 30024
Bill To:     20035263                                                                                  SHIPPED FROM LICENSE: PHWH001594



                                                                                                       Shipped To:
SOFT TOUCH MEDICAL
1800 SANDY PLAINS RD
PKWY - STE 224                                                                                         Ordered By:
                                                                                                       REGULATORY LICENSE: *#*#*#*#*#*#
MARIETTA GA 30066-6554



                 TIN:                                                                                  Payment / Account Balance Inquires: 1-800-453-5180
                 DUNS:                                                                                Customer Service:                        1-888-822-8111
           Sales Order Number                709953                                             Invoice Number                       20070395
           Sales Order Date                  07/27/2023                                         Invoice Date                         07/28/2023
           PO Number                         390651                                             Payment Due Date                     10/26/2023
           Sales Rep Name                    BAYS, CARRIE                                       Invoice Amount                       $581.74
             Notes:   By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                      the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                      acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                             Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
           Invoice Detail                                                                     Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item      Vendor /                                                                                                          Unit                        Sales Codes
Number    Vendor Cat #                  Description           Ordered     Unit  Shipped                                    Price        Amount           Tax     (*)
516680    Vendor: CARDCV       SPONGE, IV 2"X2" STR (2/PK 35P            BX                                                                1.20            .00
       Vend Cat#: 441408                             PO LN 1
       Tracking #
       Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
588393    Vendor: AMSINO       SYRINGE, CATH TIP FLAT TOP LF             EA                                                                  1.45           .00
       Vend Cat#: AS116                              PO LN 2
        Tracking #
        Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
1184935    Vendor: KATFAR       SUPPLEMENT, PEPTIDE 1.0CAL PLA            EA                                                              291.49            .00
        Vend Cat#: 811112030492                       PO LN 3
       Tracking #
       Tracking #
       Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
401364    Vendor: AVANOS       GASTROSTOMY KIT, MIC-KEY 14FR             EA                                                               102.33            .00
       Vend Cat#: 0120-14-2.7                        PO LN 4

                                                                                                                                   Invoice

                                                                                                                                                    RCHE1DPD01
McKesson Medical-Surgical
                                                                              Account Number                              20035263
Minnesota Supply Inc.                                                         Document Number                             20070395        Date    07/28/2023
9954 Mayland Drive, Ste. 5176A                                                                                Terms                         AR NET 90 DAYS
Henrico, VA 23233
                                                                                    Pay This Amount Before               10/26/2023                        $581.74

SOFT TOUCH MEDICAL
                                                                            Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1800 SANDY PLAINS RD                                                                 Please Remit To:
MARIETTA GA 30066-6554                                                                  MCKESSON MEDICAL-SURGICAL MN SUPPLY INC
                                                                                        P. O. BOX 630693
                                                                                        CINCINNATI OH 45263-0693
       Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 7 of 51 PageID
                                                                        Invoice#: 127
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 2 of 2
9954 Mayland Drive, Ste. 5176A                                                                                                                                                      RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:    20035263
   SOFT TOUCH MEDICAL
   1800 SANDY PLAINS RD
   PKWY - STE 224                                                                                                              Ordered By:
   MARIETTA GA 30066-6554                                                                                                      REGULATORY LICENSE: *#*#*#*#*#*#



               Invoice Number 20070395                                PO Number 390651                                                                     Invoice Date                07/28/2023

Item      Vendor /                                                                                                                                       Unit                              Sales Codes
Number    Vendor Cat #                  Description           Ordered     Unit  Shipped                                                                 Price          Amount               Tax     (*)
       Tracking #
       Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
730857    Vendor: APLDMD       EXT SET, RT ANGL CONN 12" W/Y             EA                                                                                                 55.36               .00
       Vend Cat#: 8-1255                             PO LN 5
       Tracking #
       Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
960222    Vendor: CARDCV       PUMP SET, JOEY 1000ML N/S (30/              EA                           74.70       .00
       Vend Cat#: 763656                             PO LN 6
       Tracking #
       Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
                                                                      HANDLING COLD CHAIN      HAZMAT         BULK STD/EXP FRT
                                                                         $55.21      $0.00       $0.00        $0.00        $0.00
                                                                      SUB TOTAL       FREIGHT            TAX          AMOUNT
                                                                         $526.53        $55.21         $0.00           $581.74
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.
     Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 8 of 51 PageID
                                                                      Invoice#: 128
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                              Page 1 of 2
                                                                                                       Shipped From:                                RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                         MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                      1005 SATELLITE BLVD.
                                                                                                       SUWANEE,GA 30024
Bill To:     20035263                                                                                  SHIPPED FROM LICENSE: PHWH001594



                                                                                                       Shipped To:
SOFT TOUCH MEDICAL
1800 SANDY PLAINS RD
PKWY - STE 224                                                                                         Ordered By:
                                                                                                       REGULATORY LICENSE: *#*#*#*#*#*#
MARIETTA GA 30066-6554



                 TIN:                                                                                  Payment / Account Balance Inquires: 1-800-453-5180
                 DUNS:                                                                                Customer Service:                        1-888-822-8111
           Sales Order Number                735826                                             Invoice Number                       20070419
           Sales Order Date                  07/28/2023                                         Invoice Date                         07/28/2023
           PO Number                         390680                                             Payment Due Date                     10/26/2023
           Sales Rep Name                    BAYS, CARRIE                                       Invoice Amount                       $219.07
             Notes:   By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                      the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                      acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                             Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
           Invoice Detail                                                                     Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item       Vendor /                                                                                                         Unit                        Sales Codes
Number     Vendor Cat #                  Description           Ordered     Unit  Shipped                                   Price        Amount           Tax     (*)
960259     Vendor: CARDCV       PUMP SET, JOEY 500ML (30/CS)              EA                                                              68.40            .00
        Vend Cat#: 762055                             PO LN 1
        Tracking #
        Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
1019960    Vendor: AVANOS       TUBE, FEED GASTRO MIC-KEY G W/            EA                                                              102.33            .00
        Vend Cat#: 8140-16-2.0                        PO LN 2
        Tracking #
        Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
1017691    Vendor: AVANOS       EXT SET, FEEDING MIC-KEY W/ENF            EA                                                               35.40            .00
        Vend Cat#: 0141-12                            PO LN 3
       Tracking #
       Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
988343    Vendor: MGM16        SYRINGE, PISTON FLAT TOP W/EN             EA                                                                  2.50           .00
       Vend Cat#: 911                                PO LN 4
       Tracking #

                                                                                                                                   Invoice

                                                                                                                                                    RCHE1DPD01
McKesson Medical-Surgical
                                                                              Account Number                              20035263
Minnesota Supply Inc.                                                         Document Number                             20070419        Date    07/28/2023
9954 Mayland Drive, Ste. 5176A                                                                                Terms                         AR NET 90 DAYS
Henrico, VA 23233
                                                                                    Pay This Amount Before               10/26/2023                        $219.07

SOFT TOUCH MEDICAL
                                                                            Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1800 SANDY PLAINS RD                                                                 Please Remit To:
MARIETTA GA 30066-6554                                                                  MCKESSON MEDICAL-SURGICAL MN SUPPLY INC
                                                                                        P. O. BOX 630693
                                                                                        CINCINNATI OH 45263-0693
       Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 9 of 51 PageID
                                                                        Invoice#: 129
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 2 of 2
9954 Mayland Drive, Ste. 5176A                                                                                                                                                      RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:    20035263
   SOFT TOUCH MEDICAL
   1800 SANDY PLAINS RD
   PKWY - STE 224                                                                                                              Ordered By:
   MARIETTA GA 30066-6554                                                                                                      REGULATORY LICENSE: *#*#*#*#*#*#



               Invoice Number 20070419                                PO Number 390680                                                                     Invoice Date                07/28/2023

Item       Vendor /                                                                                                                                      Unit                              Sales Codes
Number     Vendor Cat #                  Description           Ordered     Unit  Shipped                                                                Price          Amount               Tax     (*)
        Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
1029294    Vendor: VESMED       SYRINGE, FEEDING W/ENFIT TIP 5            EA                                                                                                 1.30               .00
        Vend Cat#: VED-605                            PO LN 5
        Tracking #
        Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
1213398    Vendor: CARDCV       CONNECTOR, ENFIT TRANSITION W/            EA                                                                                                 2.35               .00
        Vend Cat#: F00071ED                           PO LN 6
            Tracking #
            Shipped: 07/28/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
                                                                           HANDLING COLD CHAIN      HAZMAT        BULK STD/EXP FRT
                                                                               $6.79      $0.00       $0.00       $0.00       $0.00
                                                                           SUB TOTAL       FREIGHT            TAX        AMOUNT
                                                                              $212.28         $6.79         $0.00         $219.07
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.
    Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 10 of 51 PageID
                                                                     Invoice#: 130
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                              Page 1 of 4
                                                                                                       Shipped From:                                RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                         MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                      4027 MARTINSBURG PIKE
                                                                                                       CLEAR BROOK,VA 22624
Bill To:     20137044                                                                                  SHIPPED FROM LICENSE: 0215000405



                                                                                                       Shipped To:
THE PEDIATRIC CON
1300 SEMMES AVE
NECTION                                                                                                Ordered By:
                                                                                                       REGULATORY LICENSE: *#*#*#*#*#*#
RICHMOND VA 23224-2162



                 TIN:                                                                                  Payment / Account Balance Inquires: 1-800-453-5180
                 DUNS:                                                                                Customer Service:                        1-888-822-8111
           Sales Order Number                595059                                             Invoice Number                       19945804
           Sales Order Date                  07/26/2023                                         Invoice Date                         07/26/2023
           PO Number                         390556                                             Payment Due Date                     10/24/2023
           Sales Rep Name                    BAYS, CARRIE                                       Invoice Amount                       $1,114.64
             Notes:   By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                      the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                      acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                             Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
           Invoice Detail                                                                     Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item      Vendor /                                                                                                          Unit                        Sales Codes
Number    Vendor Cat #                 Description            Ordered      Unit   Shipped                                  Price        Amount           Tax     (*)
161364    Vendor: CARDCV       SUCTION, YANKAUER FINE TIP STR              EA                                                              5.12            .27
       Vend Cat#: 8888504001                         PO LN 1
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
649122    Vendor: MGM16        TUBING, CONN STR 3/16"X6' (50/              EA                                                                3.08           .16
       Vend Cat#: 16-66301                           PO LN 2
        Tracking #
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
1082829    Vendor: SSETHC       SUCTION KIT, TUBING W/CANISTER              EA                                                             24.00           1.27
        Vend Cat#: RES026S-E                          PO LN 3
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
268482    Vendor: AVANOS       EXT SET, SECUR-LOK W/FEEDING T              EA                                                              51.12           2.71
       Vend Cat#: 0121-12                            PO LN 4
       Tracking #                          1ZA954Y60306315305

                                                                                                                                   Invoice

                                                                                                                                                    RCHE1DPD01
McKesson Medical-Surgical
                                                                              Account Number                              20137044
Minnesota Supply Inc.                                                         Document Number                             19945804        Date    07/26/2023
9954 Mayland Drive, Ste. 5176A                                                                                Terms                         AR NET 90 DAYS
Henrico, VA 23233
                                                                                    Pay This Amount Before               10/24/2023                     $1,114.64

THE PEDIATRIC CON
                                                                            Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1300 SEMMES AVE                                                                      Please Remit To:
RICHMOND VA 23224-2162                                                                  MCKESSON MEDICAL - SURGICAL
                                                                                        PO BOX 204786
                                                                                        DALLAS TX 75320-4786
    Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 11 of 51 PageID
                                                                     Invoice#: 131
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                  Page 2 of 4
9954 Mayland Drive, Ste. 5176A                                                                                       RCHE1DPD01
Henrico, VA 23233                                                              Shipped To:
 Bill To:   20137044
 THE PEDIATRIC CON
 1300 SEMMES AVE
 NECTION                                                                       Ordered By:
 RICHMOND VA 23224-2162                                                        REGULATORY LICENSE: *#*#*#*#*#*#



         Invoice Number 19945804            PO Number 390556                                     Invoice Date         07/26/2023

Item      Vendor /                                                                              Unit                    Sales Codes
Number    Vendor Cat #                 Description           Ordered       Unit   Shipped      Price      Amount         Tax     (*)
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
409744    Vendor: MGM14        GLOVE, EXAM VNYLSTRCH LG N/S (              BX                                15.34        .81
       Vend Cat#: 14-818                             PO LN 6
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
864692    Vendor: MGM16        ORAL FOAM SWABSTICK, W/DENTIFR              EA                                 3.30        .17
       Vend Cat#: 4833                               PO LN 7
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
445889    Vendor: BD           SYRINGE, GENERAL PURPOSE LL W/              EA                                 2.54        .13
       Vend Cat#: 309620                             PO LN 8
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
883872    Vendor: MGM173       TUBING, OXYGEN CRUSH RES 7'                 EA                                  .80        .04
       Vend Cat#: 32647                              PO LN 9
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
130411    Vendor: MEDLNE       TUBING, OXYGEN SUPPLY STAR LUM              EA                                 1.36        .07
       Vend Cat#: HUD1119                            PO LN 10
       Tracking #                     1
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
185566    Vendor: AVANOS       VALVE, FARREL (30/CS)                       EA                                36.65       1.94
       Vend Cat#: 20-4100                            PO LN 11
        Tracking #
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
1031801    Vendor: MGM16        SYRINGE, LL 10CC (100/BX 12BX/              EA                                2.40        .13
        Vend Cat#: 16-S10C                            PO LN 12
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
482415    Vendor: MGM16        SPONGE, SPLIT HI-ABSRB 4"X4" 6              BX                                 8.50        .45
       Vend Cat#: 16-42046                           PO LN 13
    Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 12 of 51 PageID
                                                                     Invoice#: 132
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                  Page 3 of 4
9954 Mayland Drive, Ste. 5176A                                                                                       RCHE1DPD01
Henrico, VA 23233                                                              Shipped To:
 Bill To:   20137044
 THE PEDIATRIC CON
 1300 SEMMES AVE
 NECTION                                                                       Ordered By:
 RICHMOND VA 23224-2162                                                        REGULATORY LICENSE: *#*#*#*#*#*#



          Invoice Number 19945804           PO Number 390556                                     Invoice Date         07/26/2023

Item      Vendor /                                                                              Unit                    Sales Codes
Number    Vendor Cat #                 Description            Ordered      Unit   Shipped      Price      Amount         Tax     (*)
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
482415    Vendor: MGM16        SPONGE, SPLIT HI-ABSRB 4"X4" 6              BX                                 8.50        .45
       Vend Cat#: 16-42046                           PO LN 14
        Tracking #
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
414634     Vendor: CARDCV       SYRINGE, CATH TIP 35CC (40/BX               EA                                 .46        .02
        Vend Cat#: 1183500888                         PO LN 15
        Tracking #
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
1169664    Vendor: ZEVEX        BAG SET, INFINITY ENTERAL W/EN              EA                               75.33       3.99
        Vend Cat#: INF0500-E                          PO LN 16
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
911718    Vendor: MGM173       HUMIDIFIER, DRY DISP LF (50/CS              EA                                 1.87        .10
       Vend Cat#: 32630                              PO LN 17
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
188670    Vendor: MGM16        CUP, MED GRAD W/LIP 1OZ (100/S              SL                                 1.03        .05
       Vend Cat#: 16-9505                            PO LN 18
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
666812    Vendor: PARI         MASK, AEROSOL ADLT                          EA                                 1.58        .08
       Vend Cat#: 044F7252                           PO LN 19
        Tracking #
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
1027004    Vendor: WATER        WATER, DISTILLED GL (3GL/CS)               CS                                19.44       1.03
        Vend Cat#: 0-52241-78001                      PO LN 20
        Tracking #
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
1200105    Vendor: MASIMO       TAPE, SENSOR REPLCMNT F/OXIMET              ST                                4.16        .22
        Vend Cat#: 2308                               PO LN 21
        Tracking #
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
516680     Vendor: CARDCV       SPONGE, IV 2"X2" STR (2/PK 35P              BX                                2.40        .13
        Vend Cat#: 441408                             PO LN 22
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
363302    Vendor: AVANOS       GASTROSTOMY KIT, MIC-KEY 20FR               EA                               102.33       5.42
       Vend Cat#: 0120-20-4.5                        PO LN 23
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
772506    Vendor: MASIMO       SENSOR, OXIMETER NEO/ADLT (20/              EA                                61.02       3.23
       Vend Cat#: 2329                               PO LN 24
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
106318    Vendor: CARDCV       CATHETER KIT, SCTN STR 14FR (5              EA                                17.40        .92
       Vend Cat#: 37424                              PO LN 25
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
448326    Vendor: SUNMED       NEBULIZER KIT, W/FACE MASK (50              EA                                 6.16        .33
       Vend Cat#: 8924-7-50                          PO LN 26
         Tracking #
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 13 of 51 PageID
                                                                       Invoice#: 133
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 4 of 4
9954 Mayland Drive, Ste. 5176A                                                                                                                                                      RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:   20137044
   THE PEDIATRIC CON
   1300 SEMMES AVE
   NECTION                                                                                                                     Ordered By:
   RICHMOND VA 23224-2162                                                                                                      REGULATORY LICENSE: *#*#*#*#*#*#



               Invoice Number 19945804                                PO Number 390556                                                                     Invoice Date                07/26/2023

Item      Vendor /                                                                                                                                       Unit                              Sales Codes
Number    Vendor Cat #                 Description            Ordered      Unit   Shipped                                                               Price          Amount               Tax     (*)
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
262284    Vendor: SUNMED       CANNULA NASAL W/7' TUBE ADLT                EA                                                                                                2.36               .13
       Vend Cat#: 1600-7-50                          PO LN 27
        Tracking #
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
1213398    Vendor: CARDCV       CONNECTOR, ENFIT TRANSITION W/              EA                                                                                               2.35               .12
        Vend Cat#: F00071ED                           PO LN 28
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
264639    Vendor: VYARMD       FILTER, BACTERIA (50/CS)                    EA                                                                                                3.56               .19
       Vend Cat#: 001851                             PO LN 29
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
243790    Vendor: VYARMD       CONNECTOR OMNI-FLEX PATIENT (5              EA                                                                                                3.12               .17
       Vend Cat#: 3222                               PO LN 30
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
322893    Vendor: FSHPAY       CHAMBER, HUMIDIFIER AUTOFEED (              EA                                                                                               32.80             1.74
       Vend Cat#: MR290V                             PO LN 31
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
278468    Vendor: VYARMD       ADAPTER, VALVED T 22MM ID/OD (              EA                                                                                                6.88               .36
       Vend Cat#: 002061                             PO LN 32
            Tracking #
            Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
56743          Vendor: CARDCV       TRACH CARE KIT, STD STR (20/CS              EA                                                                                           5.20               .28
            Vend Cat#: 47800                              PO LN 33
        Tracking #
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
197968     Vendor: DALEMD       HOLDER, TRACH ADLT (10/BX)                  EA                                                                                              83.40             4.42
        Vend Cat#: 240                                PO LN 34
        Tracking #
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
1218756    Vendor: KENRSP       CANNULA, INNER DISP 8.5MM (10/              EA                                                                                            240.56             12.75
        Vend Cat#: 8IC85                              PO LN 35
       Tracking #                          1ZA954Y60306318400
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
281819    Vendor: AVANOS       SUCTION SYSTEM, CLOSED CATHETE              EA                                                                                             216.00             11.45
       Vend Cat#: 220135                             PO LN 36
       Tracking #                          1ZA954Y60306314511
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
   HANDLING COLD CHAIN        HAZMAT          BULK STD/EXP FRT TAX STATE           COUNTY                                                                       CITY        DISTRICT                 OTHER
       $6.79          $0.00       $0.00       $0.00         $0.00        $45.23      $10.50                                                                     $0.00           $0.00                  $0.00
                                                                    SUB TOTAL          FREIGHT                                                                             TAX                    AMOUNT
                                                                       $1,052.12          $6.79                                                                         $55.73                   $1,114.64
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 14 of 51 PageID
                                                                       Invoice#: 134
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                            Page 1 of 1
                                                                                                                               Shipped From:                                        RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                                                 MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                                              4027 MARTINSBURG PIKE
                                                                                                                               CLEAR BROOK,VA 22624
Bill To:         20137044                                                                                                      SHIPPED FROM LICENSE: 0215000405



                                                                                                                               Shipped To:
THE PEDIATRIC CON
1300 SEMMES AVE
NECTION                                                                                                                        Ordered By:
                                                                                                                               REGULATORY LICENSE: *#*#*#*#*#*#
RICHMOND VA 23224-2162



                       TIN:                                                                                                    Payment / Account Balance Inquires: 1-800-453-5180
                       DUNS:                                                                                                 Customer Service:                               1-888-822-8111
               Sales Order Number                        631143                                                        Invoice Number                              19972730
               Sales Order Date                          07/27/2023                                                    Invoice Date                                07/27/2023
               PO Number                                 390581                                                        Payment Due Date                            10/25/2023
               Sales Rep Name                            BAYS, CARRIE                                                  Invoice Amount                              $11.11
                  Notes:     By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                             the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                             acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                                                Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
              Invoice Detail                                                                                        Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item      Vendor /                                                                              Unit                   Sales Codes
Number    Vendor Cat #                  Description            Ordered     Unit   Shipped     Price       Amount         Tax      (*)
121652    Vendor: 3M           DRESSING, TEGADERM PIC FRAME W              EA                                 4.10        .22
       Vend Cat#: 1626W                              PO LN 1
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
   HANDLING COLD CHAIN        HAZMAT           BULK STD/EXP FRT TAX STATE          COUNTY            CITY      DISTRICT        OTHER
       $6.79          $0.00       $0.00        $0.00         $0.00        $0.18       $0.04          $0.00         $0.00         $0.00
                                                                     SUB TOTAL         FREIGHT               TAX            AMOUNT
                                                                           $4.10          $6.79            $0.22              $11.11
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.




                                                                                                                                                                 Invoice

                                                                                                                                                                                     RCHE1DPD01
McKesson Medical-Surgical
                                                                                                  Account Number                                       20137044
Minnesota Supply Inc.                                                                             Document Number                                      19972730           Date    07/27/2023
9954 Mayland Drive, Ste. 5176A                                                                                                          Terms                               AR NET 90 DAYS
Henrico, VA 23233
                                                                                                        Pay This Amount Before                        10/25/2023                                $11.11

THE PEDIATRIC CON
                                                                                               Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1300 SEMMES AVE                                                                                           Please Remit To:
RICHMOND VA 23224-2162                                                                                       MCKESSON MEDICAL - SURGICAL
                                                                                                             PO BOX 204786
                                                                                                             DALLAS TX 75320-4786
    Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 15 of 51 PageID
                                                                     Invoice#: 135
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                              Page 1 of 3
                                                                                                       Shipped From:                                RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                         MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                      4027 MARTINSBURG PIKE
                                                                                                       CLEAR BROOK,VA 22624
Bill To:     20137044                                                                                  SHIPPED FROM LICENSE: 0215000405



                                                                                                       Shipped To:
THE PEDIATRIC CON
1300 SEMMES AVE
NECTION                                                                                                Ordered By:
                                                                                                       REGULATORY LICENSE: *#*#*#*#*#*#
RICHMOND VA 23224-2162



                 TIN:                                                                                  Payment / Account Balance Inquires: 1-800-453-5180
                 DUNS:                                                                                Customer Service:                        1-888-822-8111
           Sales Order Number                687112                                             Invoice Number                       20140722
           Sales Order Date                  07/27/2023                                         Invoice Date                         07/30/2023
           PO Number                         390623                                             Payment Due Date                     10/28/2023
           Sales Rep Name                    BAYS, CARRIE                                       Invoice Amount                       $236.82
             Notes:   By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                      the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                      acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                             Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
           Invoice Detail                                                                     Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item      Vendor /                                                                                                          Unit                        Sales Codes
Number    Vendor Cat #                 Description           Ordered       Unit   Shipped                                  Price        Amount           Tax     (*)
448326    Vendor: SUNMED       NEBULIZER KIT, W/FACE MASK (50              EA                                                              6.16            .33
       Vend Cat#: 8924-7-50                          PO LN 1
       Tracking #
       Shipped: 07/31/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
161333    Vendor: CARDCV       SUCTION, YANKAUER REG TIP                   EA                                                                3.00           .16
       Vend Cat#: 8888501007                         PO LN 2
       Tracking #
       Shipped: 07/31/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
649122    Vendor: MGM16        TUBING, CONN STR 3/16"X6' (50/              EA                                                                3.08           .16
       Vend Cat#: 16-66301                           PO LN 3
       Tracking #
       Shipped: 07/31/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
588393    Vendor: AMSINO       SYRINGE, CATH TIP FLAT TOP LF               EA                                                                1.16           .06
       Vend Cat#: AS116                              PO LN 5
       Tracking #

                                                                                                                                   Invoice

                                                                                                                                                    RCHE1DPD01
McKesson Medical-Surgical
                                                                              Account Number                              20137044
Minnesota Supply Inc.                                                         Document Number                             20140722        Date    07/30/2023
9954 Mayland Drive, Ste. 5176A                                                                                Terms                         AR NET 90 DAYS
Henrico, VA 23233
                                                                                    Pay This Amount Before               10/28/2023                        $236.82

THE PEDIATRIC CON
                                                                            Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1300 SEMMES AVE                                                                      Please Remit To:
RICHMOND VA 23224-2162                                                                  MCKESSON MEDICAL - SURGICAL
                                                                                        PO BOX 204786
                                                                                        DALLAS TX 75320-4786
Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 16 of 51 PageID #: 136
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 17 of 51 PageID
                                                                       Invoice#: 137
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 3 of 3
9954 Mayland Drive, Ste. 5176A                                                                                                                                                      RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:   20137044
   THE PEDIATRIC CON
   1300 SEMMES AVE
   NECTION                                                                                                                     Ordered By:
   RICHMOND VA 23224-2162                                                                                                      REGULATORY LICENSE: *#*#*#*#*#*#



               Invoice Number 20140722                                PO Number 390623                                                                     Invoice Date                07/30/2023

Item            Vendor /                                                                                                            Unit                                                   Sales Codes
Number          Vendor Cat #                                  Description                            Ordered    Unit  Shipped     Price                                Amount               Tax     (*)
                                                                                                           SUB TOTAL       FREIGHT                                        TAX                     AMOUNT
                                                                                                              $224.91         $0.00                                    $11.91                      $236.82
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 18 of 51 PageID
                                                                       Invoice#: 138
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                            Page 1 of 1
                                                                                                                               Shipped From:                                        RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                                                 MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                                              1005 SATELLITE BLVD.
                                                                                                                               SUWANEE,GA 30024
Bill To:         20141568                                                                                                      SHIPPED FROM LICENSE: PHWH001594



                                                                                                                               Shipped To:
SOFT TOUCH MEDICAL                                                                                                             THRIVE SKILLED PEDIATRIC CARE
                                                                                                                               UNIT 404
1800 SANDY PLAINS RD STE 224                                                                                                   1018 HWY 80 W
POOLER PWY                                                                                                                     POOLER GA 31322
                                                                                                                               Ordered By:       a
MARIETTA GA 30066-6554



                       TIN:                                                                                                    Payment / Account Balance Inquires: 1-800-453-5180
                       DUNS:                                                                                                 Customer Service:                               1-888-822-8111
               Sales Order Number                        98744623                                                      Invoice Number                              18676006
               Sales Order Date                          07/03/2023                                                    Invoice Date                                07/05/2023
               PO Number                                 388818                                                        Payment Due Date                            10/03/2023
               Sales Rep Name                            BAYS, CARRIE                                                  Invoice Amount                              $385.50
                  Notes:     By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                             the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                             acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                                                Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
              Invoice Detail

Item       Vendor /                                                                                                                                      Unit                              Sales Codes
Number     Vendor Cat #                  Description           Ordered     Unit  Shipped                                                                Price          Amount               Tax     (*)
1207506    Vendor: SSETHC       SUCTION KIT, 800CC F/SUNSET SU            EA                                                                                            120.00                .00
        Vend Cat#: RES026S-SS                         PO LN 1
        Tracking #
        Shipped: 07/05/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
1017691    Vendor: AVANOS       EXT SET, FEEDING MIC-KEY W/ENF            EA                                                                                              265.50                .00
        Vend Cat#: 0141-12                            PO LN 2
            Tracking #
            Shipped: 07/05/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
                                                                           SUB TOTAL                                                        FREIGHT                         TAX                   AMOUNT
                                                                              $385.50                                                         $0.00                       $0.00                    $385.50
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.




                                                                                                                                                                 Invoice

                                                                                                                                                                                     RCHE1DPD01
McKesson Medical-Surgical
                                                                                                  Account Number                                       20141568
Minnesota Supply Inc.                                                                             Document Number                                      18676006           Date    07/05/2023
9954 Mayland Drive, Ste. 5176A                                                                                                          Terms                               AR NET 90 DAYS
Henrico, VA 23233
                                                                                                        Pay This Amount Before                        10/03/2023                              $385.50

SOFT TOUCH MEDICAL
                                                                                               Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1800 SANDY PLAINS RD STE 224                                                                              Please Remit To:
MARIETTA GA 30066-6554                                                                                       MCKESSON MEDICAL - SURGICAL
                                                                                                             PO BOX 204786
                                                                                                             DALLAS TX 75320-4786
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 19 of 51 PageID
                                                                       Invoice#: 139
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                            Page 1 of 1
                                                                                                                               Shipped From:                                        RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                                                 MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                                              1005 SATELLITE BLVD.
                                                                                                                               SUWANEE,GA 30024
Bill To:         20141568                                                                                                      SHIPPED FROM LICENSE: PHWH001594



                                                                                                                               Shipped To:
SOFT TOUCH MEDICAL                                                                                                             THRIVE SKILLED PEDIATRIC CARE
                                                                                                                               UNIT 404
1800 SANDY PLAINS RD STE 224                                                                                                   1018 HWY 80 W
POOLER PWY                                                                                                                     POOLER GA 31322
                                                                                                                               Ordered By:
MARIETTA GA 30066-6554



                       TIN:                                                                                                    Payment / Account Balance Inquires: 1-800-453-5180
                       DUNS:                                                                                                 Customer Service:                               1-888-822-8111
               Sales Order Number                        454342                                                        Invoice Number                              19849880
               Sales Order Date                          07/25/2023                                                    Invoice Date                                07/25/2023
               PO Number                                 390401                                                        Payment Due Date                            10/23/2023
               Sales Rep Name                            BAYS, CARRIE                                                  Invoice Amount                              $410.40
                  Notes:     By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                             the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                             acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                                                Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
              Invoice Detail

Item           Vendor /                                                                             Unit                                                                                   Sales Codes
Number         Vendor Cat #                  Description           Ordered      Unit  Shipped     Price                                                                Amount               Tax     (*)
960259         Vendor: CARDCV       PUMP SET, JOEY 500ML (30/CS)                EA                                                                                      410.40                .00
            Vend Cat#: 762055                             PO LN 1
            Tracking #
            Shipped: 07/25/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
                                                                           SUB TOTAL       FREIGHT                                                                          TAX                   AMOUNT
                                                                              $410.40         $0.00                                                                       $0.00                    $410.40
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.




                                                                                                                                                                 Invoice

                                                                                                                                                                                     RCHE1DPD01
McKesson Medical-Surgical
                                                                                                  Account Number                                       20141568
Minnesota Supply Inc.                                                                             Document Number                                      19849880           Date    07/25/2023
9954 Mayland Drive, Ste. 5176A                                                                                                          Terms                               AR NET 90 DAYS
Henrico, VA 23233
                                                                                                        Pay This Amount Before                        10/23/2023                              $410.40

SOFT TOUCH MEDICAL
                                                                                               Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1800 SANDY PLAINS RD STE 224                                                                              Please Remit To:
MARIETTA GA 30066-6554                                                                                       MCKESSON MEDICAL - SURGICAL
                                                                                                             PO BOX 204786
                                                                                                             DALLAS TX 75320-4786
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 20 of 51 PageID
                                                                       Invoice#: 140
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                            Page 1 of 1
                                                                                                                               Shipped From:                                        RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                                                 MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                                              4027 MARTINSBURG PIKE
                                                                                                                               CLEAR BROOK,VA 22624
Bill To:         20151542                                                                                                      SHIPPED FROM LICENSE: 0215000405



                                                                                                                               Shipped To:
                                                                                                                               PEDIATRIC CONN THRIVE
                                                                                                                               8143 STAPLES MILL RD
PEDIATRIC CONNECTION INC                                                                                                       RICHMOND VA 23228
8143 STAPLES MILL RD                                                                                                           REGULATORY LICENSE: 0206009101
RICHMOND VA 23228-2751



                       TIN:                                                                                                    Payment / Account Balance Inquires: 1-800-453-5180
                       DUNS:                                                                                                 Customer Service:                               1-888-822-8111
               Sales Order Number                        99337911                                                      Invoice Number                              19069165
               Sales Order Date                          07/11/2023                                                    Invoice Date                                07/11/2023
               PO Number                                                                                               Payment Due Date                            10/09/2023
               Sales Rep Name                            BAYS, CARRIE                                                  Invoice Amount                              $134.74
                  Notes:     By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                             the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                             acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                                                Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
              Invoice Detail                                                                                        Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item           Vendor /                                                                               Unit                  Sales Codes
Number         Vendor Cat #                 Description              Ordered     Unit  Shipped      Price       Amount        Tax      (*)
281892         Vendor: GEORGP       TOWEL, PAPER PRFM 2PLY RL KTCH               CS                               74.18        .00
            Vend Cat#: 27385                              PO LN 1
            Tracking #
            Shipped: 07/11/2023 From: Winchester Via: PRIVATE FLEET - WIN - WINCHEST Broker Lic: 0215000433
                                                                           HANDLING COLD CHAIN         HAZMAT           BULK STD/EXP FRT
                                                                                $0.00      $0.00           $0.00        $0.00        $60.56
                                                                            SUB TOTAL       FREIGHT                TAX           AMOUNT
                                                                                $74.18         $60.56            $0.00            $134.74
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.




                                                                                                                                                                 Invoice

                                                                                                                                                                                     RCHE1DPD01
McKesson Medical-Surgical
                                                                                                  Account Number                                       20151542
Minnesota Supply Inc.                                                                             Document Number                                      19069165           Date    07/11/2023
9954 Mayland Drive, Ste. 5176A                                                                                                          Terms                               AR NET 90 DAYS
Henrico, VA 23233
                                                                                                        Pay This Amount Before                        10/09/2023                              $134.74

PEDIATRIC CONNECTION INC
                                                                                               Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
8143 STAPLES MILL RD                                                                                      Please Remit To:
RICHMOND VA 23228-2751                                                                                       MCKESSON MEDICAL - SURGICAL
                                                                                                             PO BOX 204786
                                                                                                             DALLAS TX 75320-4786
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 21 of 51 PageID
                                                                       Invoice#: 141
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                            Page 1 of 1
                                                                                                                               Shipped From:                                        RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                                                 MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                                              4027 MARTINSBURG PIKE
                                                                                                                               CLEAR BROOK,VA 22624
Bill To:         20151542                                                                                                      SHIPPED FROM LICENSE: 0215000405



                                                                                                                               Shipped To:
                                                                                                                               PEDIATRIC CONN THRIVE
PEDIATRIC CONNECTION INC                                                                                                       RICHMOND VA 23228
8143 STAPLES MILL RD                                                                                                           REGULATORY LICENSE: 0206009101
RICHMOND VA 23228-2751



                       TIN:                                                                                                    Payment / Account Balance Inquires: 1-800-453-5180
                       DUNS:                                                                                                 Customer Service:                               1-888-822-8111
               Sales Order Number                        99658718                                                      Invoice Number                              19291911
               Sales Order Date                          07/14/2023                                                    Invoice Date                                07/14/2023
               PO Number                                                                                               Payment Due Date                            10/12/2023
               Sales Rep Name                            BAYS, CARRIE                                                  Invoice Amount                              $89.04
                  Notes:     By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                             the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                             acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                                                Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
              Invoice Detail

Item           Vendor /                                                                               Unit                  Sales Codes
Number         Vendor Cat #                 Description              Ordered     Unit  Shipped      Price       Amount        Tax      (*)
1127770        Vendor: MGM16        CUP, DRINKING TRANSLUCENT PP 7               CS                               61.38        .00
            Vend Cat#: 16-PDC7                            PO LN 1
            Tracking #
            Shipped: 07/14/2023 From: Winchester Via: PRIVATE FLEET - WIN - WINCHEST Broker Lic: 0215000433
                                                                           HANDLING COLD CHAIN         HAZMAT           BULK STD/EXP FRT
                                                                                $0.00      $0.00           $0.00        $0.00        $27.66
                                                                            SUB TOTAL       FREIGHT                TAX           AMOUNT
                                                                                $61.38         $27.66            $0.00             $89.04
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discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.




                                                                                                                                                                 Invoice

                                                                                                                                                                                     RCHE1DPD01
McKesson Medical-Surgical
                                                                                                  Account Number                                       20151542
Minnesota Supply Inc.                                                                             Document Number                                      19291911           Date    07/14/2023
9954 Mayland Drive, Ste. 5176A                                                                                                          Terms                               AR NET 90 DAYS
Henrico, VA 23233
                                                                                                        Pay This Amount Before                        10/12/2023                                $89.04

PEDIATRIC CONNECTION INC
                                                                                               Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
8143 STAPLES MILL RD                                                                                      Please Remit To:
RICHMOND VA 23228-2751                                                                                       MCKESSON MEDICAL - SURGICAL
                                                                                                             PO BOX 204786
                                                                                                             DALLAS TX 75320-4786
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 22 of 51 PageID
                                                                       Invoice#: 142
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                            Page 1 of 1
                                                                                                                               Shipped From:                                        RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                                                 MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                                              4027 MARTINSBURG PIKE
                                                                                                                               CLEAR BROOK,VA 22624
Bill To:         20151544                                                                                                      SHIPPED FROM LICENSE: 0215000405



                                                                                                                               Shipped To:
THE PEDIATRIC                                                                                                                  PEDIATRIC CONN THRIVE
1300 SEMMES AVE                                                                                                                FREDERICKSBURG VA 22408-2062
CONNECTION INC STEN                                                                                                            Ordered By:
                                                                                                                               REGULATORY LICENSE: 0206009693
RICHMOND VA 23224-2162



                       TIN:                                                                                                    Payment / Account Balance Inquires: 1-800-453-5180
                       DUNS:                                                                                                 Customer Service:                               1-888-822-8111
               Sales Order Number                        96693816                                                      Invoice Number                              17665238
               Sales Order Date                          06/06/2023                                                    Invoice Date                                06/20/2023
               PO Number                                 387084                                                        Payment Due Date                            09/18/2023
               Sales Rep Name                            BAYS, CARRIE                                                  Invoice Amount                              $209.33
                  Notes:     By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                             the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                             acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                                                Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
              Invoice Detail                                                                                        Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item           Vendor /                                                                          Unit                  Sales Codes
Number         Vendor Cat #                 Description           Ordered    Unit  Shipped     Price       Amount        Tax      (*)
871645         Vendor: KENRSP       FILTER, INLINE F/HT70 NEWPORT            EA                             194.70        .00
            Vend Cat#: SPHT6004701                        PO LN 1
            Tracking #
            Shipped: 06/21/2023 From: Winchester Via: ACCURATE COURIER EXPRESS NORTH Broker Lic: 0215000433
                                                                        HANDLING COLD CHAIN       HAZMAT           BULK STD/EXP FRT
                                                                            $0.00      $0.00          $0.00        $0.00        $14.63
                                                                        SUB TOTAL       FREIGHT               TAX           AMOUNT
                                                                           $194.70        $14.63            $0.00            $209.33
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
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                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.




                                                                                                                                                                 Invoice

                                                                                                                                                                                     RCHE1DPD01
McKesson Medical-Surgical
                                                                                                  Account Number                                       20151544
Minnesota Supply Inc.                                                                             Document Number                                      17665238           Date    06/20/2023
9954 Mayland Drive, Ste. 5176A                                                                                                          Terms                               AR NET 90 DAYS
Henrico, VA 23233
                                                                                                        Pay This Amount Before                        09/18/2023                              $209.33

THE PEDIATRIC
                                                                                               Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1300 SEMMES AVE                                                                                           Please Remit To:
RICHMOND VA 23224-2162                                                                                       MCKESSON MEDICAL - SURGICAL
                                                                                                             PO BOX 204786
                                                                                                             DALLAS TX 75320-4786
    Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 23 of 51 PageID
                                                                     Invoice#: 143
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                               Page 1 of 3
                                                                                                        Shipped From:                               RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                          MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                       4027 MARTINSBURG PIKE
                                                                                                        CLEAR BROOK,VA 22624
Bill To:      20154795                                                                                  SHIPPED FROM LICENSE: 0215000405



                                                                                                        Shipped To:
                                                                                                        THRIVE CHARLOTTESVIL
                                                                                                        199 SPOTNAP RD STE 6
THRIVE CHARLOTTESVI                                                                                     CHARLOTTESVILLE VA 22911-8827
199 SPOTNAP RD STE 6                                                                                    REGULATORY LICENSE: 0101258373
CHARLOTTESVILLE VA 22911-8827



                  TIN:                                                                                  Payment / Account Balance Inquires: 1-800-453-5180
                  DUNS:                                                                                Customer Service:                        1-888-822-8111
             Sales Order Number               97655633                                           Invoice Number                       17531362
             Sales Order Date                 06/19/2023                                         Invoice Date                         06/19/2023
             PO Number                                                                           Payment Due Date                     09/17/2023
             Sales Rep Name                   BAYS, CARRIE                                       Invoice Amount                       $552.38
              Notes:   By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                       the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                       acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                              Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
            Invoice Detail                                                                     Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item       Vendor /                                                                                                          Unit                        Sales Codes
Number     Vendor Cat #                 Description            Ordered      Unit   Shipped                                  Price        Amount            Tax    (*)
921611     Vendor: MGM14        GLOVE, EXAM NTRL MED N/S 3.8 (             CS                                                             240.34          12.74
        Vend Cat#: 14-686                             PO LN 1
        Tracking #
        HCPCS Code: A4927
        Shipped: 06/19/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
1067682    Vendor: MGM53        SOAP, MCKESSON ANTIB BENZETHON              EA                                                              45.75           2.42
        Vend Cat#: 53-28063-8                         PO LN 2
        Tracking #
        Shipped: 06/19/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
1162514    Vendor: MGM53        SANITIZER, HAND ALOE 8OZ (48/C              EA                                                              61.25            .00
        Vend Cat#: 53-27033-8C                        PO LN 3
           Tracking #
           HCPCS Code: A9286
           Shipped: 06/19/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433


                                                                                                                                    Invoice

                                                                                                                                                    RCHE1DPD01
McKesson Medical-Surgical
                                                                               Account Number                              20154795
Minnesota Supply Inc.                                                          Document Number                             17531362        Date    06/19/2023
9954 Mayland Drive, Ste. 5176A                                                                                 Terms                         AR NET 90 DAYS
Henrico, VA 23233
                                                                                     Pay This Amount Before               09/17/2023                        $552.38

THRIVE CHARLOTTESVI
                                                                             Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
199 SPOTNAP RD STE 6                                                                  Please Remit To:
CHARLOTTESVILLE VA 22911-8827                                                            MCKESSON MEDICAL - SURGICAL
                                                                                         PO BOX 204786
                                                                                         DALLAS TX 75320-4786
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 24 of 51 PageID
                                                                       Invoice#: 144
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 2 of 3
9954 Mayland Drive, Ste. 5176A                                                                                                                                                      RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:   20154795                                                                                                         THRIVE CHARLOTTESVIL
   THRIVE CHARLOTTESVI                                                                                                         199 SPOTNAP RD STE 6
   199 SPOTNAP RD STE 6                                                                                                        CHARLOTTESVILLE VA 22911-8827
   CHARLOTTESVILLE VA 22911-8827                                                                                               REGULATORY LICENSE: 0101258373




               Invoice Number 17531362                                PO Number                                                                            Invoice Date                06/19/2023

Item          Vendor /                                                                                                                                   Unit                              Sales Codes
Number        Vendor Cat #                               Description              Ordered                               Unit        Shipped             Price          Amount               Tax     (*)
921613        Vendor: MGM14                        GLOVE, EXAM NTRL LG N/S 3.8 (1                                       BX                                               90.16               4.78
            Vend Cat#: 14-688                                        PO LN 4
       Tracking #
       HCPCS Code: A4927
       Shipped: 06/19/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
921610    Vendor: MGM14        GLOVE, EXAM NTRL SM N/S 3.8 (1              BX                                                                                               90.16             4.78
       Vend Cat#: 14-684                             PO LN 5
            Tracking #
            Shipped: 06/19/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
                                                                        TAX STATE       COUNTY                                                                  CITY          DISTRICT                 OTHER
                                                                              $20.06      $4.66                                                                 $0.00             $0.00                 $0.00
                                                                         SUB TOTAL         FREIGHT                                                                         TAX                    AMOUNT
                                                                              $527.66         $0.00                                                                     $24.72                     $552.38
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
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discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.
   Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 25 of 51 PageID
                                                                    Invoice#: 145
                                                                               Summary Page
McKesson Medical-Surgical                                                      Page 3 of 3
Minnesota Supply Inc.                                                                         RCHE1DPD01
9954 Mayland Drive, Ste. 5176A
Henrico, VA 23233
  Bill To: 20154795                         Shipped To:
  THRIVE CHARLOTTESVI                       THRIVE CHARLOTTESVIL
                                            199 SPOTNAP RD STE 6
  199 SPOTNAP RD STE 6                      CHARLOTTESVILLE VA 22911-8827
  CHARLOTTESVILLE VA 22911-8827


   Invoice Number   17531362                Freight                   0.00
   PO Number                                Freight Tax               0.00
   Invoice Date     06/19/2023              Invoice Total             552.38

   HCPCS                                    TAX                  TOTAL
      A4927                       330.50   17.52                  348.02

      A9286                        61.25                           61.25

      TOTAL                       391.75   17.52                  409.27
    Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 26 of 51 PageID
                                                                     Invoice#: 146
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                               Page 1 of 3
                                                                                                        Shipped From:                               RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                          MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                       4027 MARTINSBURG PIKE
                                                                                                        CLEAR BROOK,VA 22624
Bill To:      20154812                                                                                  SHIPPED FROM LICENSE: 0215000405



                                                                                                        Shipped To:
THRIVE RICHMOND                                                                                         THRIVE RICHMOND
                                                                                                        SUITE 108
STE 108                                                                                                 100 GATEWAY CENTER PARKWAY
100 GATEWAY CENTRE PKWY                                                                                 RICHMOND VA 23235
                                                                                                        REGULATORY LICENSE: 0101258373
NORTH CHESTERFIELD VA 23235-5174



                  TIN:                                                                                  Payment / Account Balance Inquires: 1-800-453-5180
                  DUNS:                                                                                Customer Service:                        1-888-822-8111
            Sales Order Number                205596                                             Invoice Number                       19672554
            Sales Order Date                  07/21/2023                                         Invoice Date                         07/21/2023
            PO Number                                                                            Payment Due Date                     10/19/2023
            Sales Rep Name                    BAYS, CARRIE                                       Invoice Amount                       $408.79
              Notes:   By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                       the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                       acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                              Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
            Invoice Detail                                                                     Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item      Vendor /                                                                                                           Unit                        Sales Codes
Number    Vendor Cat #                 Description           Ordered       Unit   Shipped                                   Price        Amount           Tax     (*)
832683    Vendor: MGM14        GLOVE, EXAM VNYL LG N/S (150/B             CS                                                               89.17           4.73
       Vend Cat#: 14-138                             PO LN 1
       Tracking #
       HCPCS Code: A4927
       Shipped: 07/21/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
921603    Vendor: MGM14        GLOVE, EXAM NTRL MED N/S CHEMO             CS                                                               138.65           7.35
       Vend Cat#: 14-656C                            PO LN 2
       Tracking #
       HCPCS Code: A4927
       Shipped: 07/21/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
354439    Vendor: MGM14        GLOVE, EXAM VNYL MED N/S (100/             CS                                                                59.33           3.14
       Vend Cat#: 14-116                             PO LN 3
           Tracking #
           HCPCS Code: A4927


                                                                                                                                    Invoice

                                                                                                                                                    RCHE1DPD01
McKesson Medical-Surgical
                                                                               Account Number                              20154812
Minnesota Supply Inc.                                                          Document Number                             19672554        Date    07/21/2023
9954 Mayland Drive, Ste. 5176A                                                                                 Terms                         AR NET 90 DAYS
Henrico, VA 23233
                                                                                     Pay This Amount Before               10/19/2023                        $408.79

THRIVE RICHMOND
STE 108                                                                      Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
100 GATEWAY CENTRE PKWY                                                               Please Remit To:
NORTH CHESTERFIELD VA 23235-5174                                                         MCKESSON MEDICAL - SURGICAL
                                                                                         PO BOX 204786
                                                                                         DALLAS TX 75320-4786
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 27 of 51 PageID
                                                                       Invoice#: 147
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 2 of 3
9954 Mayland Drive, Ste. 5176A                                                                                                                                                      RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:   20154812                                                                                                         THRIVE RICHMOND
   THRIVE RICHMOND                                                                                                             SUITE 108
   STE 108                                                                                                                     100 GATEWAY CENTER PARKWAY
   100 GATEWAY CENTRE PKWY                                                                                                     RICHMOND VA 23235
   NORTH CHESTERFIELD VA 23235-5174                                                                                            REGULATORY LICENSE: 0101258373



               Invoice Number 19672554                                PO Number                                                                            Invoice Date                07/21/2023

Item      Vendor /                                                                                                                                       Unit                              Sales Codes
Number    Vendor Cat #                 Description            Ordered      Unit   Shipped                                                               Price          Amount               Tax     (*)
       Shipped: 07/21/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
366414    Vendor: BD           LANCET, QUICK HEEL INF (50/BX)              BX                                                                                             101.06              5.36
       Vend Cat#: 368101                             PO LN 4
            Tracking #
            Shipped: 07/21/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
                                                                        TAX STATE       COUNTY                                                                  CITY        DISTRICT                 OTHER
                                                                              $16.70      $3.88                                                                 $0.00           $0.00                  $0.00
                                                                         SUB TOTAL         FREIGHT                                                                         TAX                    AMOUNT
                                                                              $388.21         $0.00                                                                     $20.58                     $408.79
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.
   Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 28 of 51 PageID
                                                                    Invoice#: 148
                                                                               Summary Page
McKesson Medical-Surgical                                                      Page 3 of 3
Minnesota Supply Inc.                                                                         RCHE1DPD01
9954 Mayland Drive, Ste. 5176A
Henrico, VA 23233
  Bill To: 20154812                           Shipped To:
  THRIVE RICHMOND                             THRIVE RICHMOND
  STE 108                                     SUITE 108
  100 GATEWAY CENTRE PKWY                     100 GATEWAY CENTER PARKWAY
  NORTH CHESTERFIELD VA 23235-5174            RICHMOND VA 23235


   Invoice Number   19672554                   Freight                0.00
   PO Number                                   Freight Tax            0.00
   Invoice Date     07/21/2023                 Invoice Total          408.79

   HCPCS                                       TAX                TOTAL
      A4927                          287.15   15.22               302.37

      TOTAL                          287.15   15.22               302.37
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 29 of 51 PageID
                                                                       Invoice#: 149
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                            Page 1 of 2
                                                                                                                               Shipped From:                                        RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                                                 MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                                              885 PARAGON WAY
                                                                                                                               ROCK HILL,SC 29730
Bill To:         20154818                                                                                                      SHIPPED FROM LICENSE: 1345



                                                                                                                               Shipped To:
                                                                                                                               THRIVE WINSTON SALEM
                                                                                                                               7900 TRIAD CENTER DR STE 132
THRIVE WINSTON SALEM                                                                                                           GREENSBORO NC 27409-9075
7900 TRIAD CENTER DR STE 132                                                                                                   REGULATORY LICENSE: HC4414
GREENSBORO NC 27409-9075



                       TIN:                                                                                                    Payment / Account Balance Inquires: 1-800-453-5180
                       DUNS:                                                                                                 Customer Service:                               1-888-822-8111
               Sales Order Number                        99105470                                                      Invoice Number                              18915793
               Sales Order Date                          07/07/2023                                                    Invoice Date                                07/09/2023
               PO Number                                 07.07.2023                                                    Payment Due Date                            10/07/2023
               Sales Rep Name                            BAYS, CARRIE                                                  Invoice Amount                              $132.77
                  Notes:     By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                             the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                             acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                                                Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
              Invoice Detail                                                                                        Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item      Vendor /                                                                              Unit                  Sales Codes
Number    Vendor Cat #                  Description             Ordered     Unit  Shipped     Price       Amount        Tax      (*)
803185    Vendor: MGM01        SPHYG, ANEROID DLX LF RBLU SM                BX                             108.80       7.34
       Vend Cat#: 01-720-10SARBGM                     PO LN 1
       Tracking #
       HCPCS Code: A4660
       Shipped: 07/09/2023 From: Charlotte Via: UPS GROUND Broker Lic: 1751
   HANDLING COLD CHAIN        HAZMAT           BULK STD/EXP FRT TAX STATE          COUNTY            CITY     DISTRICT        OTHER
       $0.00          $0.00       $0.00         $0.00        $15.58        $5.90      $2.49          $0.00        $0.00         $0.00
                                                                      SUB TOTAL        FREIGHT               TAX           AMOUNT
                                                                          $108.80        $15.58            $8.39            $132.77
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.




                                                                                                                                                                 Invoice

                                                                                                                                                                                     RCHE1DPD01
McKesson Medical-Surgical
                                                                                                  Account Number                                       20154818
Minnesota Supply Inc.                                                                             Document Number                                      18915793           Date    07/09/2023
9954 Mayland Drive, Ste. 5176A                                                                                                          Terms                               AR NET 90 DAYS
Henrico, VA 23233
                                                                                                        Pay This Amount Before                        10/07/2023                              $132.77

THRIVE WINSTON SALEM
                                                                                               Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
7900 TRIAD CENTER DR STE 132                                                                              Please Remit To:
GREENSBORO NC 27409-9075                                                                                     MCKESSON MEDICAL - SURGICAL
                                                                                                             PO BOX 204786
                                                                                                             DALLAS TX 75320-4786
   Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 30 of 51 PageID
                                                                    Invoice#: 150
                                                                                Summary Page
McKesson Medical-Surgical                                                       Page 2 of 2
Minnesota Supply Inc.                                                                          RCHE1DPD01
9954 Mayland Drive, Ste. 5176A
Henrico, VA 23233
  Bill To: 20154818                         Shipped To:
  THRIVE WINSTON SALEM                      THRIVE WINSTON SALEM
                                            7900 TRIAD CENTER DR STE 132
  7900 TRIAD CENTER DR STE 132              GREENSBORO NC 27409-9075
  GREENSBORO NC 27409-9075


   Invoice Number   18915793                Freight                    15.58
   PO Number        07.07.2023              Freight Tax                1.05
   Invoice Date     07/09/2023              Invoice Total              132.77

   HCPCS                                    TAX                   TOTAL
      A4660                      108.80     7.34                   116.14

      TOTAL                      108.80     7.34                   116.14
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 31 of 51 PageID
                                                                       Invoice#: 151
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                            Page 1 of 1
                                                                                                                               Shipped From:                                        RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                                                 MMS (BIOMED JACKSONVILLE)
Henrico, VA 23233                                                                                                              4815 EXECUTIVE PARK CT #103
                                                                                                                               JACKSONVILLE,FL 32216
Bill To:         65295910


                                                                                                                               Shipped To:
SOFT TOUCH MEDICAL                                                                                                             SOFT TOUCH MEDICAL
                                                                                                                               SUITE 224
SUITE 224 ATTN: ANA LUNA                                                                                                       1800 SANDY PLAINS IND PKWY BLDG 200
1800 SANDY PLAINS IND PKWY BLDG 200                                                                                            MARIETTA GA 30067-7886
MARIETTA GA 30067-7886



                       TIN:                                                                                                    Payment / Account Balance Inquires: 1-800-453-5180
                       DUNS:                                                                                                 Customer Service:                               1-833-324-6633
               Sales Order Number                        98769706                                                      Invoice Number                              18653434
               Sales Order Date                          07/03/2023                                                    Invoice Date                                07/03/2023
               PO Number                                                                                               Payment Due Date                            08/02/2023
               Sales Rep Name                            WILLIAMS, SONYA                                               Invoice Amount                              $5,602.50
                  Notes:     By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                             the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                             acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                                                Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
              Invoice Detail

Item          Vendor /                                                                                                                                   Unit                              Sales Codes
Number        Vendor Cat #                              Description            Ordered                                  Unit        Shipped             Price          Amount               Tax     (*)
1151926       Vendor:                              VERBALCARE LICENSE FEE- FLAT R                                       EA                                              5602.50               .00
            Vend Cat#: FLAT RATE                                    PO LN 1
                                                                                                               SUB TOTAL                    FREIGHT                         TAX                   AMOUNT
                                                                                                                $5,602.50                     $0.00                       $0.00                  $5,602.50
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.




                                                                                                                                                                 Invoice

                                                                                                                                                                                     RCHE1DPD01
McKesson Medical-Surgical
                                                                                                  Account Number                                       65295910
Minnesota Supply Inc.                                                                             Document Number                                      18653434           Date     07/03/2023
9954 Mayland Drive, Ste. 5176A                                                                                                          Terms                                AR NET 30 DAYS
Henrico, VA 23233
                                                                                                        Pay This Amount Before                        08/02/2023                           $5,602.50

SOFT TOUCH MEDICAL
SUITE 224 ATTN: ANA LUNA                                                                       Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1800 SANDY PLAINS IND PKWY BLDG 200                                                                       Please Remit To:
MARIETTA GA 30067-7886                                                                                       MCKESSON MEDICAL - SURGICAL
                                                                                                             PO BOX 204786
                                                                                                             DALLAS TX 75320-4786
Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 32 of 51 PageID #: 152
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 33 of 51 PageID
                                                                       Invoice#: 153
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                            Page 1 of 1
                                                                                                                               Shipped From:                                         RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                                                 MMS (BIOMED JACKSONVILLE)
Henrico, VA 23233                                                                                                              4815 EXECUTIVE PARK CT #103
                                                                                                                               JACKSONVILLE,FL 32216
Bill To:         82270274


                                                                                                                               Shipped To:
THRIVE SPC                                                                                                                     THRIVE MARIETTA
                                                                                                                               1800 SANDY PLAINS IND PKWY STE 224
1800 SANDY PLAINS INDUSTRIAL PKWY                                                                                              MARIETTA GA 30066
BIOMED
MARIETTA GA 30066



                       TIN:                                                                                                    Payment / Account Balance Inquires: 1-800-453-5180
                       DUNS:                                                                                                 Customer Service:                               1-833-324-6633
               Sales Order Number                        408180                                                        Invoice Number                              19864246
               Sales Order Date                          07/24/2023                                                    Invoice Date                                07/25/2023
               PO Number                                                                                               Payment Due Date                            08/24/2023
               Sales Rep Name                            BAYS, CARRIE                                                  Invoice Amount                              $35.52
                  Notes:     By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                             the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                             acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                                                Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
              Invoice Detail

Item      Vendor /                                                                                                                                       Unit                              Sales Codes
Number    Vendor Cat #                  Description                                                  Ordered            Unit        Shipped             Price          Amount               Tax     (*)
         Shipment Date: [07/24/2023]
1167563   Vendor:                 FREIGHT FEES                                                                          EA                                                  33.51             2.01
        Vend Cat#: OT FREIGHT FEES                                                  PO LN 1
            Tracking #
1167563        Vendor:                    FREIGHT FEES                                                                  EA                                                     .00              .00
            Vend Cat#:         OT FREIGHT FEES                                      PO LN 2
            S/N:                Asset ID:
                                                                                                              TAX STATE               COUNTY                    CITY         DISTRICT               OTHER
                                                                                                                   $1.34                $0.67                   $0.00            $0.00                $0.00
                                                                                                               SUB TOTAL                 FREIGHT                            TAX                   AMOUNT
                                                                                                                   $33.51                   $0.00                         $2.01                    $35.52
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.



                                                                                                                                                                 Invoice

                                                                                                                                                                                     RCHE1DPD01
McKesson Medical-Surgical
                                                                                                  Account Number                                       82270274
Minnesota Supply Inc.                                                                             Document Number                                      19864246           Date     07/25/2023
9954 Mayland Drive, Ste. 5176A                                                                                                          Terms                                AR NET 30 DAYS
Henrico, VA 23233
                                                                                                        Pay This Amount Before                        08/24/2023                                $35.52

THRIVE SPC
                                                                                               Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1800 SANDY PLAINS INDUSTRIAL PKWY                                                                         Please Remit To:
MARIETTA GA 30066                                                                                            MCKESSON MEDICAL - SURGICAL
                                                                                                             PO BOX 204786
                                                                                                             DALLAS TX 75320-4786
Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 34 of 51 PageID #: 154
Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 35 of 51 PageID #: 155
Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 36 of 51 PageID #: 156
Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 37 of 51 PageID #: 157
Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 38 of 51 PageID #: 158
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 39 of 51 PageID
                                                                       Invoice#: 159
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 2 of 2
9954 Mayland Drive, Ste. 5176A                                                                                                                                                      RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:    82270274                                                                                                        THRIVE MARIETTA
   THRIVE SPC                                                                                                                  1800 SANDY PLAINS IND PKWY STE 224
   1800 SANDY PLAINS INDUSTRIAL PKWY                                                                                           MARIETTA GA 30066
   BIOMED
   MARIETTA GA 30066



               Invoice Number 20010640                                PO Number                                                                            Invoice Date                07/27/2023

Item            Vendor /                                                                                                            Unit                                                   Sales Codes
Number          Vendor Cat #                                  Description                            Ordered    Unit  Shipped     Price                                Amount               Tax     (*)
                                                                                                           SUB TOTAL       FREIGHT                                        TAX                     AMOUNT
                                                                                                              $890.00         $0.00                                    $53.40                      $943.40
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.
    Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 40 of 51 PageID
                                                                     Invoice#: 160
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                              Page 1 of 2
                                                                                                       Shipped From:                               RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                         MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                      4027 MARTINSBURG PIKE
                                                                                                       CLEAR BROOK,VA 22624
Bill To:     82503941                                                                                  SHIPPED FROM LICENSE: 0215000405



                                                                                                       Shipped To:
THRIVE CPAP PHD
STE 224
1800 SANDY PLAINS INDUSTRIAL PKWY                                                                      Ordered By:
                                                                                                       REGULATORY LICENSE: *#*#*#*#*#*#
MARIETTA GA 30066-6363



                 TIN:                                                                                  Payment / Account Balance Inquires: 1-800-453-5180
                 DUNS:                                                                                Customer Service:                        1-888-822-8111
           Sales Order Number                99032544                                           Invoice Number                       18862124
           Sales Order Date                  07/06/2023                                         Invoice Date                         07/07/2023
           PO Number                         388995                                             Payment Due Date                     10/05/2023
           Sales Rep Name                    BAYS, CARRIE                                       Invoice Amount                       $129.56
             Notes:   By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                      the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                      acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                             Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
           Invoice Detail                                                                     Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item      Vendor /                                                                                                          Unit                        Sales Codes
Number    Vendor Cat #                 Description           Ordered       Unit   Shipped                                  Price        Amount           Tax     (*)
1168563   Vendor: SSETHC       TUBING, CPAP SLIM TYPE SMOOTHB              EA                                                              3.04            .16
       Vend Cat#: TUB006SS                           PO LN 2
       Tracking #
       Shipped: 07/07/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
849348    Vendor: RESMED       CUSHION, CPAP MASK QUATTRO AIR              EA                                                              22.00           1.17
       Vend Cat#: 62738                              PO LN 4
       Tracking #
       Shipped: 07/07/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
897283    Vendor: RESMED       HEADGEAR, CPAP AIRFIT F10 STD               EA                                                              19.50           1.03
       Vend Cat#: 63164                              PO LN 5
       Tracking #
       Shipped: 07/07/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
897281    Vendor: RESMED       MASK, FRAME SYS CPAP AIRFIT F1              EA                                                              78.50           4.16
       Vend Cat#: 63162                              PO LN 6
       Tracking #

                                                                                                                                   Invoice

                                                                                                                                                   RCHE1DPD01
McKesson Medical-Surgical
                                                                              Account Number                              82503941
Minnesota Supply Inc.                                                         Document Number                             18862124        Date    07/07/2023
9954 Mayland Drive, Ste. 5176A                                                                                Terms                         AR NET 90 DAYS
Henrico, VA 23233
                                                                                    Pay This Amount Before               10/05/2023                        $129.56

THRIVE CPAP PHD
STE 224                                                                     Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1800 SANDY PLAINS INDUSTRIAL PKWY                                                    Please Remit To:
MARIETTA GA 30066-6363                                                                  MCKESSON MEDICAL - SURGICAL
                                                                                        PO BOX 204786
                                                                                        DALLAS TX 75320-4786
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 41 of 51 PageID
                                                                       Invoice#: 161
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 2 of 2
9954 Mayland Drive, Ste. 5176A                                                                                                                                                      RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:    82503941
   THRIVE CPAP PHD
   STE 224
   1800 SANDY PLAINS INDUSTRIAL PKWY                                                                                           Ordered By:
   MARIETTA GA 30066-6363                                                                                                      REGULATORY LICENSE: *#*#*#*#*#*#



               Invoice Number 18862124                                PO Number 388995                                                                     Invoice Date                07/07/2023

Item           Vendor /                                                                              Unit                  Sales Codes
Number         Vendor Cat #                 Description           Ordered       Unit   Shipped     Price       Amount        Tax      (*)
            Shipped: 07/07/2023 From: Winchester Via: UPS GROUND Broker Lic: 0215000433
                                                                        TAX STATE       COUNTY            CITY     DISTRICT        OTHER
                                                                               $5.28       $1.24          $0.00        $0.00         $0.00
                                                                         SUB TOTAL          FREIGHT               TAX          AMOUNT
                                                                              $123.04          $0.00            $6.52            $129.56
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 42 of 51 PageID
                                                                       Invoice#: 162
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                            Page 1 of 1
                                                                                                                               Shipped From:                                        RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                                                 MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                                              3769 COMMERCE CENTER BLVD
                                                                                                                               BETHLEHEM,PA 18015
Bill To:         82503941                                                                                                      SHIPPED FROM LICENSE: PHWH004707



                                                                                                                               Shipped To:
THRIVE CPAP PHD
STE 224
1800 SANDY PLAINS INDUSTRIAL PKWY                                                                                              Ordered By:
                                                                                                                               REGULATORY LICENSE: *#*#*#*#*#*#
MARIETTA GA 30066-6363



                       TIN:                                                                                                    Payment / Account Balance Inquires: 1-800-453-5180
                       DUNS:                                                                                                 Customer Service:                               1-888-822-8111
               Sales Order Number                        234173                                                        Invoice Number                              19744918
               Sales Order Date                          07/21/2023                                                    Invoice Date                                07/24/2023
               PO Number                                 390251                                                        Payment Due Date                            10/22/2023
               Sales Rep Name                            BAYS, CARRIE                                                  Invoice Amount                              $82.03
                  Notes:     By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                             the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                             acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                                                Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
              Invoice Detail                                                                                        Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item      Vendor /                                                                              Unit                  Sales Codes
Number    Vendor Cat #                  Description             Ordered     Unit  Shipped     Price       Amount        Tax      (*)
1118425   Vendor: RESPIR       MASK, CPAP NASAL WISP FIT PACK               EA                              63.24       3.79
       Vend Cat#: 1104953                             PO LN 1
       Tracking #
       Shipped: 07/24/2023 From: Lehigh Valley Via: UPS GROUND Broker Lic: PHWH004554
   HANDLING COLD CHAIN        HAZMAT           BULK STD/EXP FRT TAX STATE          COUNTY            CITY     DISTRICT        OTHER
      $15.00          $0.00       $0.00        $0.00          $0.00        $2.53      $1.26          $0.00        $0.00         $0.00
                                                                      SUB TOTAL        FREIGHT               TAX           AMOUNT
                                                                           $63.24        $15.00            $3.79             $82.03
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.




                                                                                                                                                                 Invoice

                                                                                                                                                                                     RCHE1DPD01
McKesson Medical-Surgical
                                                                                                  Account Number                                       82503941
Minnesota Supply Inc.                                                                             Document Number                                      19744918           Date    07/24/2023
9954 Mayland Drive, Ste. 5176A                                                                                                          Terms                               AR NET 90 DAYS
Henrico, VA 23233
                                                                                                        Pay This Amount Before                        10/22/2023                                $82.03

THRIVE CPAP PHD
STE 224                                                                                        Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1800 SANDY PLAINS INDUSTRIAL PKWY                                                                         Please Remit To:
MARIETTA GA 30066-6363                                                                                       MCKESSON MEDICAL - SURGICAL
                                                                                                             PO BOX 204786
                                                                                                             DALLAS TX 75320-4786
    Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 43 of 51 PageID
                                                                     Invoice#: 163
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                              Page 1 of 2
                                                                                                       Shipped From:                               RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                         MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                      4027 MARTINSBURG PIKE
                                                                                                       CLEAR BROOK,VA 22624
Bill To:     82503941                                                                                  SHIPPED FROM LICENSE: PHWH003744



                                                                                                       Shipped To:
THRIVE CPAP PHD
STE 224
1800 SANDY PLAINS INDUSTRIAL PKWY                                                                      Ordered By:
                                                                                                       REGULATORY LICENSE: *#*#*#*#*#*#
MARIETTA GA 30066-6363



                 TIN:                                                                                  Payment / Account Balance Inquires: 1-800-453-5180
                 DUNS:                                                                                Customer Service:                        1-888-822-8111
           Sales Order Number                593269                                             Invoice Number                       19945773
           Sales Order Date                  07/26/2023                                         Invoice Date                         07/26/2023
           PO Number                         390555                                             Payment Due Date                     10/24/2023
           Sales Rep Name                    BAYS, CARRIE                                       Invoice Amount                       $141.52
             Notes:   By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                      the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                      acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                             Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
           Invoice Detail                                                                     Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item      Vendor /                                                                                                          Unit                        Sales Codes
Number    Vendor Cat #                 Description           Ordered      Unit  Shipped                                    Price        Amount           Tax     (*)
853872    Vendor: SSETHC       TUBING, CPAP GRAY 6'                       EA                                                               2.34            .19
       Vend Cat#: TUB06                              PO LN 1
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: PHWH004554
897286    Vendor: RESMED       HEADGEAR, CPAP AIRFIT F10 F/HE             EA                                                               19.50           1.56
       Vend Cat#: 63167                              PO LN 2
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: PHWH004554
897279    Vendor: RESMED       MASK, FRAME SYS CPAP AIRFIT F1             EA                                                               78.50           6.28
       Vend Cat#: 63160                              PO LN 3
        Tracking #
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: PHWH004554
1197385    Vendor: RESPIR       TANK, WATER DREAMSTATION2 W/O              EA                                                              10.00            .80
        Vend Cat#: 1146072                            PO LN 4
        Tracking #

                                                                                                                                   Invoice

                                                                                                                                                   RCHE1DPD01
McKesson Medical-Surgical
                                                                              Account Number                              82503941
Minnesota Supply Inc.                                                         Document Number                             19945773        Date    07/26/2023
9954 Mayland Drive, Ste. 5176A                                                                                Terms                         AR NET 90 DAYS
Henrico, VA 23233
                                                                                    Pay This Amount Before               10/24/2023                        $141.52

THRIVE CPAP PHD
STE 224                                                                     Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
1800 SANDY PLAINS INDUSTRIAL PKWY                                                    Please Remit To:
MARIETTA GA 30066-6363                                                                  MCKESSON MEDICAL - SURGICAL
                                                                                        PO BOX 204786
                                                                                        DALLAS TX 75320-4786
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 44 of 51 PageID
                                                                       Invoice#: 164
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 2 of 2
9954 Mayland Drive, Ste. 5176A                                                                                                                                                       RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:    82503941
   THRIVE CPAP PHD
   STE 224
   1800 SANDY PLAINS INDUSTRIAL PKWY                                                                                           Ordered By:
   MARIETTA GA 30066-6363                                                                                                      REGULATORY LICENSE: *#*#*#*#*#*#



               Invoice Number 19945773                                PO Number 390555                                                                     Invoice Date                07/26/2023

Item       Vendor /                                                                                                                                      Unit                              Sales Codes
Number     Vendor Cat #                 Description           Ordered      Unit  Shipped                                                                Price          Amount               Tax     (*)
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: PHWH004554
1192966    Vendor: RESPIR       FILTER, CPAP POLLEN DS2 REUSAB             EA                                                                                                  .90              .07
        Vend Cat#: 1142687                            PO LN 5
        Tracking #
        Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: PHWH004554
1197054    Vendor: RESPIR       FILTER, ULTRA-FINE F/DREAMSTAT             EA                                                                                                4.80               .38
        Vend Cat#: 1142828                            PO LN 6
       Tracking #
       Shipped: 07/27/2023 From: Winchester Via: UPS GROUND Broker Lic: PHWH004554
   HANDLING COLD CHAIN        HAZMAT          BULK STD/EXP FRT TAX STATE         COUNTY                                                                         CITY        DISTRICT                 OTHER
      $15.00          $0.00       $0.00       $0.00        $0.00          $5.24    $5.24                                                                        $0.00           $0.00                  $0.00
                                                                    SUB TOTAL       FREIGHT                                                                                TAX                    AMOUNT
                                                                         $116.04      $15.00                                                                            $10.48                     $141.52
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.
    Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 45 of 51 PageID
                                                                     Invoice#: 165
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                              Page 1 of 2
                                                                                                       Shipped From:                               RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                         MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                      1005 SATELLITE BLVD.
                                                                                                       SUWANEE,GA 30024
Bill To:     82998340                                                                                  SHIPPED FROM LICENSE: PHWH001594



                                                                                                       Shipped To:
                                                                                                       THRIVE MACON
                                                                                                       915 HILL PARK STE 100A
THRIVE MACON                                                                                           MACON GA 31201-1929
2278 INGLESIDE AVE
MACON GA 31204



                 TIN:                                                                                  Payment / Account Balance Inquires: 1-800-453-5180
                 DUNS:                                                                                Customer Service:                        1-888-822-8111
           Sales Order Number                304217                                             Invoice Number                       19744434
           Sales Order Date                  07/24/2023                                         Invoice Date                         07/24/2023
           PO Number                         OFFICE                                             Payment Due Date                     08/23/2023
           Sales Rep Name                    BAYS, CARRIE                                       Invoice Amount                       $582.96
             Notes:   By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                      the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                      acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                             Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
           Invoice Detail                                                                     Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item       Vendor /                                                                                                         Unit                        Sales Codes
Number     Vendor Cat #                  Description           Ordered     Unit  Shipped                                   Price        Amount           Tax     (*)
771927     Vendor: CLRXCO       WIPE, CLOROX DISINFECTING FRES            CS                                                              49.45           3.96
        Vend Cat#: 01593                              PO LN 1
        Tracking #
        Shipped: 07/24/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
1040600    Vendor: MGM16        TOWEL, MULTI-FOLD 1PLY WHT 9.0            CS                                                               32.70           2.62
        Vend Cat#: 165-MF250                          PO LN 2
        Tracking #
        Shipped: 07/24/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
1056612    Vendor: RJSHNR       SOAP, HAND SOFTSOAP CRISP CLEA            CS                                                               35.12           2.81
        Vend Cat#: US03562A                           PO LN 3
       Tracking #
       Shipped: 07/24/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
953791    Vendor: MGM16        SANITIZER, HAND INSTANT PUMP W            CS                                                                42.56           3.40
       Vend Cat#: 16-1069                            PO LN 4
       Tracking #

                                                                                                                                   Invoice

                                                                                                                                                   RCHE1DPD01
McKesson Medical-Surgical
                                                                              Account Number                              82998340
Minnesota Supply Inc.                                                         Document Number                             19744434        Date     07/24/2023
9954 Mayland Drive, Ste. 5176A                                                                                Terms                          AR NET 30 DAYS
Henrico, VA 23233
                                                                                    Pay This Amount Before               08/23/2023                        $582.96

THRIVE MACON
                                                                            Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
2278 INGLESIDE AVE                                                                   Please Remit To:
MACON GA 31204                                                                          MCKESSON MEDICAL - SURGICAL
                                                                                        PO BOX 204786
                                                                                        DALLAS TX 75320-4786
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 46 of 51 PageID
                                                                       Invoice#: 166
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 2 of 2
9954 Mayland Drive, Ste. 5176A                                                                                                                                                      RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:    82998340                                                                                                        THRIVE MACON
   THRIVE MACON                                                                                                                915 HILL PARK STE 100A
   2278 INGLESIDE AVE                                                                                                          MACON GA 31201-1929
   MACON GA 31204




               Invoice Number 19744434                                PO Number OFFICE                                                                     Invoice Date                07/24/2023

Item      Vendor /                                                                                                                                       Unit                              Sales Codes
Number    Vendor Cat #                  Description           Ordered     Unit  Shipped                                                                 Price          Amount               Tax     (*)
       Shipped: 07/24/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
832683    Vendor: MGM14        GLOVE, EXAM VNYL LG N/S (150/B            CS                                                                                                 89.17             7.13
       Vend Cat#: 14-138                             PO LN 5
       Tracking #
       Shipped: 07/24/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
832682    Vendor: MGM14        GLOVE, EXAM VNYL MED N/S (150/            CS                                                                                               178.34             14.27
       Vend Cat#: 14-136                             PO LN 6
        Tracking #
        Shipped: 07/24/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
1040599    Vendor: MGM16        TOWEL, MULTI-FOLD PREM 1PLY WH            CS                                                                                                57.33             4.59
        Vend Cat#: 165-MF250P                         PO LN 7
       Tracking #
       Shipped: 07/24/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
937918    Vendor: MGM53        SANITIZER, HAND ALOE W/PUMP 18            CS                                                                                                 55.10             4.41
       Vend Cat#: 53-27037-18                        PO LN 8
            Tracking #
            Shipped: 07/24/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
                                                                          TAX STATE                                                   COUNTY                    CITY        DISTRICT                 OTHER
                                                                              $21.61                                                    $21.58                  $0.00           $0.00                  $0.00
                                                                           SUB TOTAL                                                      FREIGHT                          TAX                    AMOUNT
                                                                              $539.77                                                        $0.00                      $43.19                     $582.96
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
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discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 47 of 51 PageID
                                                                       Invoice#: 167
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                            Page 1 of 1
                                                                                                                               Shipped From:                                        RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                                                 MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                                              1005 SATELLITE BLVD.
                                                                                                                               SUWANEE,GA 30024
Bill To:         82998585                                                                                                      SHIPPED FROM LICENSE: PHWH001594



                                                                                                                               Shipped To:


THRIVE MACON PHD
2278 INGLESIDE AVE                                                                                                             REGULATORY LICENSE: *#*#*#*#*#*#
MACON GA 31204



                       TIN:                                                                                                    Payment / Account Balance Inquires: 1-800-453-5180
                       DUNS:                                                                                                 Customer Service:                               1-888-822-8111
               Sales Order Number                        99467394                                                      Invoice Number                              19160918
               Sales Order Date                          07/12/2023                                                    Invoice Date                                07/12/2023
               PO Number                                                                                               Payment Due Date                            08/11/2023
               Sales Rep Name                            BAYS, CARRIE                                                  Invoice Amount                              $33.62
                  Notes:     By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                             the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                             acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                                                Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
              Invoice Detail                                                                                        Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item      Vendor /                                                                             Unit                  Sales Codes
Number    Vendor Cat #                  Description            Ordered     Unit  Shipped     Price       Amount        Tax      (*)
803189    Vendor: MGM01        SPHYG, ANEROID DLX LF GRN CHLD              BX                              24.63       1.72
       Vend Cat#: 01-720-9CGRGM                      PO LN 1
       Tracking #
       Shipped: 07/12/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
   HANDLING COLD CHAIN        HAZMAT           BULK STD/EXP FRT TAX STATE         COUNTY            CITY     DISTRICT        OTHER
       $6.79          $0.00       $0.00        $0.00         $0.00        $1.26      $0.94          $0.00        $0.00         $0.00
                                                                      SUB TOTAL       FREIGHT               TAX           AMOUNT
                                                                          $24.63         $6.79            $2.20             $33.62
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.




                                                                                                                                                                 Invoice

                                                                                                                                                                                     RCHE1DPD01
McKesson Medical-Surgical
                                                                                                  Account Number                                       82998585
Minnesota Supply Inc.                                                                             Document Number                                      19160918           Date     07/12/2023
9954 Mayland Drive, Ste. 5176A                                                                                                          Terms                                AR NET 30 DAYS
Henrico, VA 23233
                                                                                                        Pay This Amount Before                        08/11/2023                                $33.62

THRIVE MACON PHD
                                                                                               Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
2278 INGLESIDE AVE                                                                                        Please Remit To:
MACON GA 31204                                                                                               MCKESSON MEDICAL - SURGICAL
                                                                                                             PO BOX 204786
                                                                                                             DALLAS TX 75320-4786
    Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 48 of 51 PageID
                                                                     Invoice#: 168
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                              Page 1 of 2
                                                                                                       Shipped From:                                RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                         MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                      1005 SATELLITE BLVD.
                                                                                                       SUWANEE,GA 30024
Bill To:     82998585                                                                                  SHIPPED FROM LICENSE: PHWH001594



                                                                                                       Shipped To:


THRIVE MACON PHD
2278 INGLESIDE AVE                                                                                     REGULATORY LICENSE: *#*#*#*#*#*#
MACON GA 31204



                 TIN:                                                                                  Payment / Account Balance Inquires: 1-800-453-5180
                 DUNS:                                                                                Customer Service:                        1-888-822-8111
           Sales Order Number                99531774                                           Invoice Number                       19199144
           Sales Order Date                  07/13/2023                                         Invoice Date                         07/13/2023
           PO Number                                                                            Payment Due Date                     08/12/2023
           Sales Rep Name                    BAYS, CARRIE                                       Invoice Amount                       $41.68
             Notes:   By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                      the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                      acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                             Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
           Invoice Detail

Item       Vendor /                                                                                                         Unit                        Sales Codes
Number     Vendor Cat #                  Description           Ordered     Unit  Shipped                                   Price        Amount           Tax     (*)
1056612    Vendor: RJSHNR       SOAP, HAND SOFTSOAP CRISP CLEA            EA                                                               8.79            .68
        Vend Cat#: US03562A                           PO LN 1
        Tracking #
        Shipped: 07/13/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
1040599    Vendor: MGM16        TOWEL, MULTI-FOLD PREM 1PLY WH            PK                                                                10.74           .83
        Vend Cat#: 165-MF250P                         PO LN 2
       Tracking #
       Shipped: 07/13/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
771927    Vendor: CLRXCO       WIPE, CLOROX DISINFECTING FRES            CT                                                                 12.36           .96
       Vend Cat#: 01593                              PO LN 3
      Tracking #
      Shipped: 07/13/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
  HANDLING COLD CHAIN        HAZMAT           BULK STD/EXP FRT TAX STATE                                    COUNTY                 CITY       DISTRICT            OTHER
      $6.79          $0.00       $0.00        $0.00       $0.00         $1.54                                 $1.07                $0.00          $0.39            $0.00


                                                                                                                                   Invoice

                                                                                                                                                    RCHE1DPD01
McKesson Medical-Surgical
                                                                              Account Number                              82998585
Minnesota Supply Inc.                                                         Document Number                             19199144         Date     07/13/2023
9954 Mayland Drive, Ste. 5176A                                                                                Terms                           AR NET 30 DAYS
Henrico, VA 23233
                                                                                    Pay This Amount Before               08/12/2023                         $41.68

THRIVE MACON PHD
                                                                            Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
2278 INGLESIDE AVE                                                                   Please Remit To:
MACON GA 31204                                                                          MCKESSON MEDICAL - SURGICAL
                                                                                        PO BOX 204786
                                                                                        DALLAS TX 75320-4786
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 49 of 51 PageID
                                                                       Invoice#: 169
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 2 of 2
9954 Mayland Drive, Ste. 5176A                                                                                                                                                      RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:    82998585
   THRIVE MACON PHD
   2278 INGLESIDE AVE
   MACON GA 31204                                                                                                              REGULATORY LICENSE: *#*#*#*#*#*#




               Invoice Number 19199144                                PO Number                                                                            Invoice Date                07/13/2023

Item            Vendor /                                                                                                            Unit                                                   Sales Codes
Number          Vendor Cat #                                  Description                            Ordered    Unit  Shipped     Price                                Amount               Tax     (*)
                                                                                                           SUB TOTAL       FREIGHT                                        TAX                     AMOUNT
                                                                                                               $31.89         $6.79                                     $3.00                      $41.68
The prices on this invoice may be subject to rebates, credits and other price adjustments. You are obligated to properly disclose and appropriately reflect all discounts, including rebates, in claims and
costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
request, in accordance with all applicable laws and regulations, including 42 USC 1320a-7b(b) and the discount safe harbor. In addition, the purchase of products hereunder may qualify customer for
discounts on certain purchases made under a distribution agreement between customer and McKesson Corporation.
                                                                             PRICING IS CONFIDENTIAL AND PROPRIETARY.
    Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 50 of 51 PageID
                                                                     Invoice#: 170
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                              Page 1 of 2
                                                                                                       Shipped From:                                RCHE1DPD01
9954 Mayland Drive, Ste. 5176A                                                                         MCKESSON MEDICAL-SURGICAL INC
Henrico, VA 23233                                                                                      1005 SATELLITE BLVD.
                                                                                                       SUWANEE,GA 30024
Bill To:     82998585                                                                                  SHIPPED FROM LICENSE: PHWH001594



                                                                                                       Shipped To:


THRIVE MACON PHD
2278 INGLESIDE AVE                                                                                     REGULATORY LICENSE: *#*#*#*#*#*#
MACON GA 31204



                 TIN:                                                                                  Payment / Account Balance Inquires: 1-800-453-5180
                 DUNS:                                                                                Customer Service:                        1-888-822-8111
           Sales Order Number                574542                                             Invoice Number                       19933292
           Sales Order Date                  07/26/2023                                         Invoice Date                         07/26/2023
           PO Number                                                                            Payment Due Date                     08/25/2023
           Sales Rep Name                    BAYS, CARRIE                                       Invoice Amount                       $57.68
             Notes:   By doing business with McKesson, Customer acknowledges that it is familiar with McKesson’s Terms of Sale and is responsible for reviewing in full
                      the complete Terms of Sale that apply to this purchase, located at https://mms.mckesson.com/content/terms-of-sale-extended-care. McKesson’s
                      acceptance of Customer’s order was expressly conditioned upon Customer’s assent to the complete Terms of Sale.
                                                                             Please contact us regarding electronic payment options at MMS.Treasury@ McKesson.com
           Invoice Detail                                                                     Disclaimer: You are responsible for verifying the HCPCS codes are correct

Item      Vendor /                                                                                                          Unit                        Sales Codes
Number    Vendor Cat #                  Description           Ordered     Unit  Shipped                                    Price        Amount           Tax     (*)
832682    Vendor: MGM14        GLOVE, EXAM VNYL MED N/S (150/            BX                                                               35.68           2.85
       Vend Cat#: 14-136                             PO LN 1
       Tracking #
       Shipped: 07/26/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
937919    Vendor: MGM53        SANITIZER, HAND W/PUMP 18OZ (1            EA                                                                 10.94           .88
       Vend Cat#: 53-28037-18                        PO LN 2
      Tracking #
      Shipped: 07/26/2023 From: Atlanta Via: UPS GROUND Broker Lic: PHWH004554
  HANDLING COLD CHAIN        HAZMAT           BULK STD/EXP FRT TAX STATE                                    COUNTY                 CITY       DISTRICT            OTHER
      $6.79          $0.00       $0.00        $0.00       $0.00         $2.13                                 $1.60                $0.00          $0.54            $0.00




                                                                                                                                   Invoice

                                                                                                                                                    RCHE1DPD01
McKesson Medical-Surgical
                                                                              Account Number                              82998585
Minnesota Supply Inc.                                                         Document Number                             19933292         Date     07/26/2023
9954 Mayland Drive, Ste. 5176A                                                                                Terms                           AR NET 30 DAYS
Henrico, VA 23233
                                                                                    Pay This Amount Before               08/25/2023                         $57.68

THRIVE MACON PHD
                                                                            Please contact us regarding electronic payment options at MMS.Treasury@McKesson.com.
2278 INGLESIDE AVE                                                                   Please Remit To:
MACON GA 31204                                                                          MCKESSON MEDICAL - SURGICAL
                                                                                        PO BOX 204786
                                                                                        DALLAS TX 75320-4786
      Case 1:24-cv-00172-MN Document 15-1 Filed 04/25/24 Page 51 of 51 PageID
                                                                       Invoice#: 171
McKesson Medical-Surgical
Minnesota Supply Inc.                                                                                                                                           Page 2 of 2
9954 Mayland Drive, Ste. 5176A                                                                                                                                                      RCHE1DPD01
Henrico, VA 23233                                                                                                              Shipped To:
   Bill To:    82998585
   THRIVE MACON PHD
   2278 INGLESIDE AVE
   MACON GA 31204                                                                                                              REGULATORY LICENSE: *#*#*#*#*#*#




               Invoice Number 19933292                                PO Number                                                                            Invoice Date                07/26/2023

Item            Vendor /                                                                                                            Unit                                                   Sales Codes
Number          Vendor Cat #                                  Description                            Ordered    Unit  Shipped     Price                                Amount               Tax     (*)
                                                                                                           SUB TOTAL       FREIGHT                                        TAX                     AMOUNT
                                                                                                               $46.62         $6.79                                     $4.27                      $57.68
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costs submitted to federal and state government health care programs (including Medicare and Medicaid) and to provide this invoice and other discount documentation to government authorities on
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